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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

                                                   )
Melissa Scott,                                     )
                                                   )
                       Plaintiff,                  )
v.                                                 )               Case No.: 1:17-cv-00811-GMS
                                                   )
                                                   )             STIPULATION OF DISMISSAL
Southwest Credit,                                  )
                                                   )
                       Defendants.                 )
                                                   )
                                                   )

       IT IS HEREBY stipulated and agreed by the parties pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii), that the within matter is dismissed with prejudice and with all parties

to bear their own costs.

Dated: May 10, 2018

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